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      -against-                                                       S-1 10-CR-878 (KMW)

FNU LNU-1,
MEI-HUA HUANG                                                         ORDER
A/K/A "NA-KYUNG'S DR IVER"

----------------------------------------------------------------x
WOOD, KIMBA M:

      On February 6, 2012, this Court issued the annexed Order (Docket Entry

316) granting the Government's motion to Nolle Prosequl the charges against

FNU LNU-1 (MEI-HUA HUANG). As a result, the charges against Ms. Huang

were dismissed and the case was terminated on February 6, 2012.




       SO ORDERED:

             November       _!i_, 2020
             New York, NY                              Honorable Klmba M. Wood
                                                       United States District Judge
      Case1:10-cr-00878-KMW
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UNITED STATES OF AMERICA                                               NOLLE PROSEQUI
             - v. -                                                    S1 10 Cr. 878     (KMW)

FNU LNU 1,
  a / k / a "Na-Kyung ' s          Driver"
                          Defendant.

                      -    -   -   -   -   -   -   -   -    X

             1.           The filing of this nolle prosegui wi ll dispose of

this case in its entiret y.

             2.           On November 9, 2010 , Indictment S1 10 Cr. 878

(KMW)   (the "Indictment " ) was filed,                         charging FNU LNU, a/k / a "Na-

Kyung' s Driver," the defendant, in one count of conspiracy to

transport individuals across state lines for the purpose of

prostitution, and to persuade,                             induce, entice and coerce

individuals to cross state lines for the purpose of prostitution,

in v iolation of Title 18 , united States Code , Section 371.

             3.           On July 13 , 2010, FNU LNU, a/k/a "Na - Kyung's

Driver," the defendant, and the Government entered into a

Deferred Prosecution Agreement pursuant to which no further

prosecution would be instituted in this District for the above

offense if FNU LNU complied with the terms of the Agreement for a
period of six months, after which the Government would seek to

dismiss the charges in the Indictment .

             4.           In accordance wi th the Deferred Prosecution

Ag r eement, the terms of which have been satisfied, the Government
      Case1:10-cr-00878-KMW
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has determined not to proceed with the prosecution of FNU LNU,
a/k/a "Na-Kyung's Driver,n the defendant.

           5,     In light of the foregoing, I recommend that an

order of nolle prosegui be filed as to FNU LNU, a/k/a "Na-Kyung's

Driver," the defendant, with respect to Indictment S1 10 Cr. 878

{KMW) .




                                    DAN!EL s. GOLDMAN
                                    Assistant United States Attorney
                                    (212}   637-2289

Dated:     New York, New York
          ,~ q,~v-i   U: ,   2012




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          Upon the foregoing recommendation, I hereby direct,

with leave of the Court, that an order of nolle prosequi be filed
as to FNU LNU, a/k/a "Na-Kyung's Driver," the defendant, with
respect to Indictment Sl 10 Cr. 8 7 ~-


                                   PREET BHARARA    ~~{2.._
                                   United States Attorney
                                   southern District of New York
Dated;                 New York
                       ,   2012




SO ORDERED:




                                   HONORABLE KIMBA M. WOOD
                                   United States District Judge
                                   southern District of New York

Dated:     New York, New York
           f6J, "'  / 2012




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